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 PS 8
 (1204)

                         UNITED STATES DISTRICT COURT
                                            for the
                                    District of New Jersey

 U.S.A. vs. Yezenia Castillo                                                  Docket No. 20-8102

                     Petition for Action on Conditions of Pretrial Release

        COMES NOW KATHLEEN CULLEN PRETRIAL SERVICES OFFICER, presenting
an official report upon the conduct of defendant Yezenia Castillo, who was placed under pretrial
release supervision by the HONORABLE JOSEPH A. DICKSON sitting in the Court at 50
Walnut Street, on March 3, 2020, under the following conditions:

$1 00,000 Unsecured Appearance Bond;
    1. Pretrial Services Supervision
    2. Defendant released to the third-party custody of Carlos Castillo
    3. Travel restricted to New Jersey and New York City, unless approved by Pretrial Services.
    4. Surrender all passports and travel documents to Pretrial Services. Do not apply for any
        new travel documents.
    5. Mental health testing and treatment as directed by Pretrial Services.
    6. Abstain from the excessive use of Alcohol.
    7. Maintain current residence or residence approved by Pretrial Services.
    8. Maintain or actively seek employment as approve by Pretrial Services.
    9. No contact with victims or witness unless in the presence of counsel.
    10. No new bank accounts unless approved by Pretrial Services.
    11. Restricted from employment where Defendant has access to 3’ party bank or financial
        accounts.

On March 11, 2022, Pretrial Services filed a Petition for Action requesting a bail hearing as the
was non complaint with bail conditions. Specifically, the defendant had obtained new charges.

On April 13, 2022, the defendant appeared via zoom for a bail violation hearing before the
Honorable James B. Clark, III. At that time, the Court adjourned the matter and scheduled a status
hearing for June 3, 2022. The defendant was awarded an opportunity to demonstrate compliance
with bail conditions.

On June 3, 2022, the Court adjourned the status hearing as requested by defense counsel and
government for August 15, 2022.

On July 7, 2022, an Informational Memo was submitted to the Court as the defendant has obtained
new charges. Specifically, On May 30, 2022, the defendant was arrested and charged by Hoboken
Police Department with Simple Assault and Unlawful Possession of Weapon under Complaint S
2022-389-0905.
                                                    __________________________
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On August 15, 2022, the Court adjourned the status hearing as requested by defense counsel and
government for October 5, 2022.

On September 26, 2022, Pretrial Services filed a Petition for Action requesting a bail hearing
                                                                                               as
the defendant was noncompliant with bail conditions. Specifically, the defendant was
noncompliant with substance abuse treatment and had been testing positive for Alcohol. The
defendant was ordered to attend inpatient substance abuse treatment.

On October 28, 2022, Pretrial Services filed a Petition for Action requesting a bail hearing as the
defendant was noncompliant with bail conditions. Specifically, the defendant had obtained new
charges.

       Respectfully presenting petition for action of Court and for cause as follows:

                              [SEE ATTACHED ADDENDUM]


PRAYING THAT THE COURT WILL ORDER: Issue a warrant to lodge as a detainer
against the defendant.

  ORDER OF COURT                                   I declare under penalty of perjury that the
                                                   foregoing is true and coffect.
 Considered and ordered this     351        day
 of       J-          ,3z    and  ordere d filed   Executed
 and made a part of the records in the above       on
 case.                                                 10/30/2022


 JAMEStLARK III
 United States Magistrate Judge                    KATHLEEN CULLEN
                                                   United States Pretrial Services Officer
